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                                 MINUTE ORDER



  CASE NUMBER:            CIVIL NO. 20-00173 LEK-RT
  CASE NAME:              Tobius Davies vs. Sgt. Lana Heick et al.,


        JUDGE:      Leslie E. Kobayashi           DATE:               10/19/2020


 COURT ACTION: EO Denying as Moot Davies' Motion (Dkt. 20) for a Status
 Conference.

        On 9/29/20, the Court issued an order dismissing the Second Amended Complaint in
 part and directing service. The Court mailed a copy of the order to Davies at his address of
 record. In light of Davies' 10/19/20 Motion for Status Update and Motion for Change of
 Address [Dkt. 20], the Clerk is directed to update Davies' address of record and mail
 another copy of the Court's 9/29/20 [Dkt. 17] order to Davies at his updated address of
 record. Davies' motion for a status update is DENIED as moot.

        IT IS SO ORDERED.

 Submitted by: Agalelei Elkington, Courtroom Manager
